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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
 __________________________________________
                                            :
 RYANAIR DAC,                               :
                                            : C.A. No. 1:20-cv-01191-WCB
                   Plaintiff/               :
                   Counterclaim Defendant,  :
                                            :
             v.                             :
                                            :
 BOOKING HOLDINGS INC.,                     :
 BOOKING.COM B.V., KAYAK SOFTWARE           :
 CORPORATION, PRICELINE.COM LLC,            :
 and AGODA COMPANY PTE. LTD.,               :
                                            :
                   Defendants,              :
                                            :
 BOOKING.COM B.V.,                          :          PUBLIC VERSION -
                                            : CONFIDENTIAL MATERIAL OMITTED
                   Counterclaim Plaintiff.  :
 __________________________________________:

                DECLARATION OF JI MAO IN SUPPORT OF PLAINTIFF
               RYANAIR DAC’S BRIEF IN OPPOSITION TO DEFENDANTS’
               MOTION FOR SUMMARY JUDGMENT AND TO PRECLUDE
             EXPERT TESTIMONY OF IAIN LOPATA AND ANTHONY VANCE

        I, Ji Mao, declare:

        1.      I am over the age of twenty-one (21) and of sound mind. I am an attorney at

 Holland & Knight LLP, which represents Plaintiff, Ryanair DAC, in this matter. I have personal

 knowledge of all the facts recited below, and if called as a witness, could and would testify

 competently thereto.

        2.      I visited the www.Ryanair.com (the “Ryanair Website”) at 1:34 pm ET on January

 19, 2024. The figures below reflect a series of true and correct screenshots of the Ryanair Website

 as I progressed through the Ryanair Website and attempted to make a flight booking.

        3.      The following image is a true and correct screenshot taken at 1:34 pm ET on

 January 19, 2024 of the web page that loaded when I visited www.Ryanair.com.
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        4.     At 1:35 pm ET on January 19, 2024, I clicked the “Log In” link in the top right

 corner of the Ryanair Website. The following image is a true and correct screenshot taken at 1:37

 pm ET on January 19, 2024 of the resulting web page.




                                                2
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        5.      At 1:38 pm ET on January 19, 2024, I entered my myRynair login credentials and

 clicked the “Log In” button. The following image is a true and correct screenshot taken at 1:39 pm

 ET on January 19, 2024 of the resulting web page.




        6.      At 1:42 pm ET on January 19, 2024, I searched for one-way flights from Dublin to

 Edinburgh departing on Saturday, January 20, 2024. The following image is a true and correct

 screenshot taken at 1:42 pm ET on January 19, 2024 of the web page after I have input my search

 parameters, but before I have hit the “search” button.




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        7.     At 1:43 pm ET on January 19, 2024, I clicked on the “Search” button. The following

 image is a true and correct screenshot taken at 1:43 pm ET on January 19, 2024 of the resulting

 web page.




                                               4
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        8.     At 1:44 pm ET on January 19, 2024, I clicked on the “Select” button for the Ryanair

 flight from Dublin to Edinburgh departing at 07:55 and arriving at 09:00. The following image is

 a true and correct screenshot taken at 1:44 pm ET on January 19, 2024 of the resulting web page.




        9.     At 1:46 pm ET on January 19, 2024, I clicked on the “Continue for $191.60” button.

 The following image is a true and correct screenshot taken at 1:46 pm ET on January 19, 2024 of

 the resulting web page.




                                                5
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        10.    At 1:47 pm ET on January 19, 2024, I clicked on the “Continue with Basic” button.

 The following image is a true and correct screenshot taken at 1:47 pm ET on January 19, 2024 of

 the resulting web page.




                                               6
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        11.    At 1:48 pm ET on January 19, 2024, I entered my passenger information. The

 following image is a true and correct screenshot taken at 1:48 pm ET on January 19, 2024 after I

 have entered my passenger information but before I hit the “Continue” button.




        12.    At 1:49 pm ET on January 19, 2024, I clicked on the “Continue” button. The

 following image is a true and correct screenshot taken at 1:49 pm ET on January 19, 2024 of the

 resulting web page.




                                                7
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        13.    At 1:50 pm ET on January 19, 2024, I clicked on the “Add recommended seats”

 button. The following image is a true and correct screenshot taken at 1:50 pm ET on January 19,

 2024 of the resulting web page.




                                               8
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        14.    At 1:50 pm ET on January 19, 2024, I clicked on the “No, thanks” button. The

 following image is a true and correct screenshot taken at 1:50 pm ET on January 19, 2024 of the

 resulting web page.




        15.    At 1:51 pm ET on January 19, 2024, I selected the “1 Small Bag only” button and

 clicked on the “Continue” button. The following image is a true and correct screenshot taken at

 1:51 pm ET on January 19, 2024 of the resulting web page.




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        16.    At 1:52 pm ET on January 19, 2024, I clicked on the “Continue” button. The

 following images are true and correct screenshots taken at 1:53 pm ET on January 19, 2024 of the

 resulting web page.




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        17.    At 1:54 pm ET on January 19, 2024, I clicked on the “Continue” button. The

 following image is a true and correct screenshot taken at 1:54 pm ET on January 19, 2024 of the

 resulting web page.




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        18.     At 1:55 pm ET on January 19, 2024, I clicked on the “Why do I need to verify my

 identity” link. The following image is a true and correct screenshot taken at 1:55 pm ET on January

 19, 2024 of the resulting web page.




        19.     At 1:56 pm ET on January 19, 2024, I clicked on the “Continue” button. The

 following image is a true and correct screenshot taken at 1:56 pm ET on January 19, 2024 of the

 resulting web page.




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        20.    At 1:57 pm ET on January 19, 2024, I selected the “Express” option and clicked on

 the “Continue” button. The following image is a true and correct screenshot taken at 1:57 pm ET

 on January 19, 2024 of the resulting web page.




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        21.    At 1:57 pm ET on January 19, 2024, I selected the checkbox and clicked on the

 “Continue” button. The following image is a true and correct screenshot taken at 1:57 pm ET on

 January 19, 2024 of the resulting web page.




        22.    At 1:58 pm ET on January 19, 2024, I filled in my personal information and clicked

 on the “Continue” button. The following image is a true and correct screenshot taken at 1:58 pm

 ET on January 19, 2024 of the resulting web page.




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        24.    At 2:00 pm ET on January 19, 2024, I clicked on the “Looks good” button. The

 following image is a true and correct screenshot taken at 2:00 pm ET on January 19, 2024 of the

 resulting web page.




        25.    I was not able to continue to book my flight without completing this verification

 procedure.

        26.    At 2:03 pm ET, I hit the back button to return to the payment page. The following

 image is a true and correct screenshot taken at 2:05 pm ET on January 19, 2024 of the resulting

 web page.




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        27.    At 2:06 pm ET on January 19, 2024, I clicked on the “Continue” button. The

 following image is a true and correct screenshot taken at 2:06 pm ET on January 19, 2024 of the

 resulting web page.




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        28.    At 2:07 pm ET on January 19, 2024, I selected the “Standard” option and clicked

 on the “Continue” button. The following image is a true and correct screenshot taken at 2:07 pm

 ET on January 19, 2024 of the resulting web page.




        29.    At 2:07 pm ET on January 19, 2024, I clicked on the “Continue” button. The

 following image is a true and correct screenshot taken at 2:07 pm ET on January 19, 2024 of the

 resulting web page.




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        30.     At 2:08 pm ET on January 19, 2024, I uploaded an image that was not my passport,

 national ID card, or driver’s license and clicked on the “Continue” button. The following image is

 a true and correct screenshot taken at 2:08 pm ET on January 19, 2024 of the resulting web page.




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          34.   I was not able to complete my flight booking without completing this verification

 procedure.

          35.   Attached as Exhibit 1 is a true and correct copy of excerpts from the deposition

 transcript of John Hurley, deposed on September 29, 2023.

          36.   Attached as Exhibit 2 is a true and correct copy of excerpts from the deposition

 transcript of Dara Brady, deposed on August 18, 2023.

          37.   Attached as Exhibit 3 is a true and correct copy of excerpts from the deposition

 transcript of John Hurley, deposed on August 16, 2023.

          38.   Attached as Exhibit 4 is a true and correct copy of the document stamped with

 Bates no. RYANAIR-BOOKING_0076008, showing a system-generated customer verification

 email.

          39.   Attached as Exhibit 5 is a true and correct copy of excerpts from the deposition

 transcript of Matteo Bruni, deposed on August 11, 2023.

          40.   Attached as Exhibit 6 is a true and correct copy of Defendants’ Privilege Log

 related to third-party communications, served on January 12, 2024.

          41.   Attached as Exhibit 7 is a true and correct copy of excerpts from the deposition

 transcript of Iain Lopata, deposed on October 11, 2023.

          42.   Attached as Exhibit 8 is a true and correct copy of Ryanair’s Written Responses to

 Written Questions for Ryanair, served on December 11, 2023.

          43.   Attached as Exhibit 9 is a true and correct copy of excerpts from the deposition

 transcript of Olivier Roset, deposed on August 23, 2023.

          44.   Attached as Exhibit 10 is a true and correct copy of excerpts from the deposition

 transcript of David Furey, deposed on June 15, 2023.




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        45.    Attached as Exhibit 11 is a true and correct copy of the document stamped with

 Bates no. BOOKING.COM00000682 showing an email exchange with Glenn Fogel, CEO of

 Booking.com and Booking Holdings.

        46.    Attached as Exhibit 12 is a true and correct copy of excerpts from the deposition

 transcript of Timothy James O’Neil-Dunne, deposed on September 26, 2023.

        47.    Attached as Exhibit 13 is a true and correct copy of excerpts from the deposition

 transcript of Anthony Vance, deposed on October 13, 2023.

        48.    Attached as Exhibit 14 is a true and correct copy of the document titled “Web

 Scraping for Hospitality Research: Overview, Opportunities, and Implications” and stamped as

 Exhibit 129 during the deposition of Timothy James O’Neil-Dunne on September 26, 2023.




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        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



 Executed on January 22, 2024                        Respectfully Submitted,

                                                     /s/ Ji Mao
                                                     Ji Mao

                                                     Attorney for Plaintiff/
                                                     Counterclaim Defendant, Ryanair DAC




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